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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



 United States of America,                   )       CASE NO. 5:13 CR 420
                                             )
                       Plaintiff,            )       JUDGE PATRICIA A. GAUGHAN
                                             )
               Vs.                           )
                                             )
 Benjamin Suarez, et al.,                    )       Memorandum of Opinion and Order
                                             )
                       Defendants.           )




        INTRODUCTION

        This matter is before the Court upon Defendant Michael Giorgio’s Motion to Dismiss

 Count 9 of the Superseding Indictment (Doc. 81). Also pending are defendant Benjamin

 Suarez’s Motion to Join Co-Defendant’s Motion to Dismiss Count 9 of the Superseding

 Indictment (Doc. 68) and Defendant Suarez Corporation Industries, Inc.’s Motion to Join

 Defendant Michael Giorgio’s Motion to Dismiss Count 9 of the Superseding Indictment (Doc.

 83). The motions to join are GRANTED and, therefore, the substantive ruling will apply to all

 defendants. For the reasons that follow, the defendants’ motion to dismiss is DENIED.


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        FACTS

        The Superseding Indictment charges defendants, Benjamin Suarez, Michael Giorgio, and

 Suarez Corporation Industries, Inc. (“SCI”), with various counts related to “straw man”

 campaign contributions made by persons who worked for or were associated with SCI.

 According to the indictment, Giorgio and Suarez recruited these individuals and requested that

 they make contributions to federal election campaigns. Girogio and Suarez collected

 contribution forms and checks from these “straw donors” and sometimes completed the forms

 themselves. Giorgio and Suarez sent the forms and checks directly to the campaigns. The

 “straw donors” were told by Giorgio that SCI would reimburse them for their contributions. The

 “straw donors” were then reimbursed by SCI through payments “disguised” as additional salary

 and later as profit sharing. Once the contributions were publically exposed, defendants sought to

 conceal their conduct by attempting to require that the “straw donors” pay back the

 reimbursements.

        The indictment further alleges that defendants created and then concealed a document

 containing the handwriting of both individual defendants. The document, “recounted Suarez’s

 proposed version of the conduit contributions....” and, in it, the defendants “sought to coordinate

 their stories.” (See, Superseding Indictment at ¶¶ 70, 101). A grand jury subpoena directed at

 SCI requested categories of documents. The government claims that the document containing

 defendants’ handwriting, while responsive to the grand jury subpoena, was not produced by any

 defendant. Rather, defendants concealed its existence. In Count 9, defendants are charged as

 follows:

        From in or around July 2012, though on or about January 22, 2013...defendants...did
        corruptly obstruct, influence, and impede any official proceeding, and attempt to do so,

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        by creating and then concealing the existence of a one-page note in Suarez’s handwriting
        and a five-page typewritten document containing Giorgio’s handwriting....

 (Superseding Indictment at ¶ 101).

        Defendants move to dismiss this charge and the government opposes the motion.

        ANALYSIS

        Defendants make two arguments in support of their motion to dismiss. Defendants argue

 that the statute is unconstitutionally vague as applied. In addition, defendants claim that there is

 no “nexus” between the “inaccurate” statements in the document and any “official proceeding.”

 Each argument will be addressed in turn.

        1. Vagueness

        Defendants argue that 18 U.S.C. § 1512(c) is void for vagueness. Section 1512(c)

 provides as follows:

        (c) Whoever corruptly--

        (1) alters, destroys, mutilates, or conceals a record, document, or other object, or attempts
        to do so, with the intent to impair the object's integrity or availability for use in an official
        proceeding; or

        (2) otherwise obstructs, influences, or impedes any official proceeding, or attempts to do
        so,

        shall be fined under this title or imprisoned not more than 20 years, or both.

        According to defendants, they are charged under subsection (2), which is the “catchall

 provision” of Section 1512. Defendants argue that the statute as applied to their conduct is

 unconstitutionally vague. According to defendants, the mere “possession” of documents is an

 otherwise innocent act that is criminalized under Section 1512(c)(2). Because there are no

 definitive standards pursuant to which the statute can be enforced, the statute is vague. In


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 addition, defendants argue that the terms “corruptly” and “otherwise” are not defined.

 Defendants rely on United States v. Pointdexter, 951 F.2d 369 (D.C. Cir. 1992) in support of

 their argument. Defendants claim that under the “Rule of Lenity,” the statute does not apply to

 the alleged misconduct.

        In response, the government argues that the terms “corruptly” and “otherwise” are not

 unconstitutionally vague. The government points out that a number of circuit courts have

 routinely upheld convictions under Section 1512(c)(2). Although it appears from the face of the

 indictment that the government may have possibly intended to charge defendants under Section

 1512(c)(1) and (2), they make no such argument in their briefing.1

        Upon review, the Court rejects defendants’ arguments. The United States Supreme Court

 has explained that “vagueness challenges to statutes which do not involve First Amendment

 freedoms must be examined in the light of the facts of the case at hand.” United States v.

 Powell, 423 U.S. 87, 92 (1975)(citation omitted). Thus, while a statute may be

 unconstitutionally vague as to certain conduct, the same may not be true of other types of

 conduct that fall under the statute. In other words, defendants must establish that Section

 1512(c) is unconstitutionally vague as applied to the misconduct alleged in the superseding

 indictment. See, United States v. Avant, 907 F.2d 623, 625 (6th Cir. 1986). To survive a void

 for vagueness challenge, a statute must be “sufficiently defined so that ordinary people,



  1
          For example, counts nine and ten in the indictment both are
          captioned “Obstruction of Justice, 18 U.S.C. §§ 1512(c) and (2).
          Similarly, in paragraphs 101 and 103, the government alleges,
          “[the actions were done] in violation of Title 18, United States
          Code, Sections 1512(c)(2) and (2).” It appears that these
          provisions contain typographical errors.

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 exercising ordinary common sense, can understand it and avoid conduct which is prohibited,

 without encouragement of arbitrary and discriminatory enforcement.” Kolender v. Lawson, 461

 U.S. 352, 357 (1983).

        Here, defendants argue that because “corruptly” and “otherwise” are undefined, the

 statute is unconstitutional because it extends to cover the benign conduct of “passively

 possessing” documents. In the context of a similar obstruction statute, the circuit courts appear

 to universally conclude that the phrase “corruptly persuades” is ambiguous. See, United States v.

 Doss, 630 F.3d 1181, 1187 (9th Cir. 2011)(“All courts considering this issue have found this

 phrase to be ambiguous). In Doss, the court noted in applying the phrase:

        There is currently a circuit split over the type of conduct that falls within the ambit of this
        phrase. Two of our sister circuits conclude the persuasion with an “improper purpose”
        qualifies (such as self-interest in impeding an investigation), while another concludes
        there must be something more inherently wrongful about the persuasion (such as bribery
        or encouraging someone to testify falsely).

 Doss, 630 F.3d at 1186.

        Although construing a different statute, Doss’s analysis applies in concept to the statutory

 provision at issue in this case. Generally speaking, the vagueness challenge fails where the

 conduct at issue has no purpose other than one that could generally be described as “corrupt.”

 Thus, for example, all courts appear to conclude that bribing a witness qualifies as acting

 “corruptly.” On the other hand, courts are split when there is a genuine question of whether the

 underlying conduct was engaged in “corruptly,” as that term is generally defined.

        Some courts define “corruptly” as simply “motivated by an improper purpose, while

 other courts required something more nefarious. Moreover, the analysis often includes whether

 an intent element is otherwise present in the statute. So, for example, if the statute at issue


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 includes an intent element and the actions must be taken “corruptly” courts have required the

 “something more.” Here, it does not appear that Section 1512(c)(2) has an intent element. Thus,

 the more general “motivated by an improper purpose” is more likely applicable. However, the

 Court need not reach this issue because, under either definition, the Court finds that the statute is

 not unconstitutionally vague as applied to the charges set forth in count nine of the indictment.

        Courts finding the statute vague have been faced with alleged misconduct that may

 arguably not be “corrupt” under any definition. For example, in Doss, the court addressed

 whether defendant’s appeal to his wife to exercise her martial privilege not to testify against him

 was “corrupt”– as opposed to innocent– persuasion. The court concluded that the statute was

 vague as applied because it reached conduct that, although arguably could be motivated by a

 self-interest, it also could have amounted to “innocent persuasion.” In this case, defendants are

 charged with creating and concealing a false document that “contained an inaccurate version of

 events that Suarez and Georgio planned to coordinate and present.” Defendants wholly ignore

 the fact that defendants were charged with the creation of the false document.2 Rather,

 defendants’ brief relies almost exclusively on the argument that defendants “passively



  2
          Defendant Giorgio repeatedly argues that Suarez alone created the
          document and that the indictment fails to identify the contents of
          defendant Giorgio’s handwritten notes. These are evidentiary
          issues that cannot be resolved in a motion to dismiss. The face of
          the indictment clearly alleges that defendant Giorgio created a
          false document. At this point in the proceedings, as defendants
          acknowledge, the Court must accept the government’s factual
          allegations. Moreover, the Court rejects defendants’ argument
          that the document cannot form the basis of the charge because it is
          protected by the attorney-client privilege. This Court addressed
          this issue by separate Order and concluded that defendants fail to
          establish that the documents are privileged.

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 possessed” the document. The Court finds that the creation of false documents satisfies the

 phrases “corruptly” and “otherwise.3” Defendants argue in their reply brief that this conduct is

 not sufficiently related to the conduct delineated in Section 1512(c)(1). Section 1512(c)(1)

 prohibits altering, destroying, mutilating, or concealing a record. The Court rejects this

 argument. Rather, the Court finds that persons of ordinary intelligence can understand that

 creating a false document is conduct that is “otherwise” prohibited by Section 1512 (c)(2).

 Accordingly, the statute is not vague as applied to defendants.

        Because the Court finds that the statute is not vague or ambiguous as applied, the Court

 rejects defendants’ request to apply the Rule of Lenity.4

        2. Nexus requirement

        Defendants next argue that Count 9 must be dismissed because the government fails to

 allege that “the narrative was prepared with an intent to give it to and, thereby, mislead, the

 grand jury.” According to defendants, there can be no intent to obstruct justice by not turning

 over a falsified document. Defendants claim that the opposite is true. According to defendants,

 the document is privileged and defendants never intended to convey the purportedly inaccurate

 information to the grand jury. As such, there is no nexus between the alleged misconduct and

 any “official proceeding.” The government argues that it need not allege the existence of a


  3
          Defendants argue that the phrase “otherwise” is ambiguous and
          should be limited to acts involving the modification or
          manipulation of a document. In other words, “passive possession”
          cannot violate the statute. Once again, however, defendants’
          argument ignores the fact that defendants are charged with
          creating a false document.
  4
          The Rule of Lenity requires that the Court apply vague and
          ambiguous terms in favor of the defendant.

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 nexus, even if it must prove one at trial.

        Upon review, the Court finds that defendants’ argument is well-taken, in part. The Court

 agrees with defendants that the government must establish a nexus between defendants’ alleged

 wrongdoing and an “official proceeding.” See, Arthur Anderson LLP v. United States, 544 U.S.

 696, 708 (2005)(finding that Section 1512(b) requires a nexus between “corruptly persuading”

 and “official proceeding”); United States v. Aguilar, 515 U.S. 593 (1995)(“...if the defendant

 lacks knowledge that his actions are likely to affect the judicial proceeding, he lacks the requisite

 intent to obstruct.”). Court have extended the rationale in Arthur Anderson and Aguilar to cases

 involving the statutory section at issue before this Court. See, United States v. Fiske, 640 F.3d

 1288, 1292 (11th Cir. 2011)(government required to prove that defendant knew of, or at least

 foresaw, the forfeiture proceeding); United States v. Bennett, 664 F.3d 997 (5th Cir. 2011),

 vacated on other grounds, 133 S.Ct. 71 (2012)(applying Arthur Anderson to require a nexus with

 respect to charges brought under Section 1512(c)(2)); United States v. Reich, 479 F.3d 179 (2nd

 Cir. 2007)(extending reasoning in Aguilar to require a nexus in the context of charges brought

 pursuant to Section 1512(c)(2)); United States v. Carson, 560 F.3d 566, 584 (6th Cir.

 2009)(assuming without deciding that the nexus requirement applies to Section 1512).

        Based on the foregoing, the Court concludes that the government must establish a nexus

 between the corrupt conduct and an official proceeding. The Court, however, agrees with the

 government that the nexus need not be alleged or established in the indictment. See, e.g., United

 States v. Rand, 2011 WL 4498866 (W.D.N.C. July 27, 2011)(“Numerous courts have held that

 while the Government must prove a “nexus” between the defendant's conduct and an official

 proceeding at trial, the Indictment need not allege any such nexus.”); United States v. Ring, 628


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 F.Supp. 2d, 195, 223-24 (D.D.C. 2009)(finding that defendant’s argument “conflates pleading

 with proof” and noting that neither Aguilar nor Arthur Anderson involved the sufficiency of the

 indictment); United States v. Triumph Capital Group, 260 F.Supp.2d 470, 475 (D. Conn.

 2003)(government need not allege nexus in indictment; nexus need only be established at trial).

 Rather, the government must satisfy the nexus requirement at trial. Accordingly, dismissal of

 count nine is not required.

        CONCLUSION

        For the foregoing reasons, Defendant Michael Giorgio’s Motion to Dismiss Count 9 of

 the Superseding Indictment (Doc. 81) is DENIED.

          IT IS SO ORDERED.




                                       /s/ Patricia A. Gaughan
                                       PATRICIA A. GAUGHAN
                                       United States District Judge
  Dated: 5/8/14




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